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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                      MDL No. 2804
 OPIATE LITIGATION
                                                   Master Docket No.:
 This document relates to:                         1:17-MD-02804-DAP

 Case No. 1:18-op-45459-DAP                        Hon. Judge Dan A. Polster

 THE MUSCOGEE (CREEK) NATION,

                       PLAINTIFF,                  JURY TRIAL DEMANDED

 v.

 PURDUE PHARMA L.P., et al.,

                       DEFENDANTS.


            OPPOSITION TO OLYMPIA PHARMACY’S MOTION TO DISMISS

       Defendant Olympia Pharmacy’s Motion to Dismiss First Amended Complaint

(“Defendant’s Motion”) should be denied as untimely pursuant to Northern District of Ohio

Local Rule 7.1. Under Case Management Order 6, In re: Nat’l Prescription Opiate Litig.,

No. 1:17-md-2804 (N.D. Ohio), ECF No. 770, the time to file motions to dismiss in this case

expired on August 31, 2018; Defendant’s Motion was not filed for another 42 days, on October

12, 2018.

       In the alternative, Defendant’s Motion should be dismissed for the reasons set forth in

Plaintiff’s Consolidated Opposition to Defendants’ Motions to Dismiss the Nation’s First

Amended Complaint, ECF No. 84, which Plaintiff hereby incorporates by reference.
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Date: October 31, 2018

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                                CERTIFICATE OF SERVICE

       I, Jenna A. Hudson, hereby certify that on October 31, 2018 the foregoing document was

served via the Court’s ECF system to all counsel of record.



                                                    /s/ Jenna A. Hudson
                                                    Jenna A. Hudson
